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Fill in this information to identify your case: 

United States Bankruptcy Court for the:

Northern District of Texas

Case number (If known):                                    Chapter    11
                                                                                                                                Check if this is an
                                                                                                                                     amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor’s name                             Eve Financial, Inc.


2.    All other names debtor used in the
      last 8 years
      Include any assumed names, trade
      names, and doing business as names




3.    Debtor’s federal Employer
      Identification Number (EIN)               XX-XXXXXXX


4.    Debtor’s address                          Principal place of business                          Mailing address, if different from principal
                                                                                                     place of business

                                                1261 S 820 E #200                                    2701 N Thanksgiving Way #100
                                                Number      Street                                   Number        Street


                                                American Fork              UT    84003               Lehi                   UT       84043
                                                City                       State Zip Code            City                   State Zip Code

                                                                                                     Location of principal assets, if different
                                                                                                     from principal place of business

                                                UTAH                                                 2845 Summerdale Dr.
                                                County                                               Number                 Street


                                                                                                     Hurst                  TX       76054
                                                                                                     City                   State Zip Code



5.    Debtor’s website (URL)                    https://www.eve.co/




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Debtor       Eve Financial, Inc.                                                                 Case number (if known)
             Name


6.   Type of debtor                              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                 Partnership (excluding LLP)
                                                 Other. Specify:


7.   Describe debtor’s business:             A. Check one:
                                                 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 Railroad (as defined in 11 U.S.C. § 101(44))
                                                 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                 None of the above


                                             B. Check all that apply:
                                                 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                  80a-3)
                                                 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                             C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                  5222


8.   Under which chapter of the              Check one:
     Bankruptcy Code is the debtor
                                                 Chapter 7
     filing?
                                                 Chapter 9
                                                 Chapter 11. Check all that apply:
     A debtor who is a “small business                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     debtor” must check the first sub-box.                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     A debtor as defined in § 1182(1) who                               affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     elects to proceed under subchapter V                               recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not the                                  income tax return or if any of these documents do not exist, follow the procedure in
     debtor is a “small business debtor”)                               11 U.S.C. § 1116(1)(B).
     must check the second sub-box.
                                                                       The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                        less than $7,500,000, and it chooses to proceed under Subchapter V of Chapter
                                                                        11. If this sub-box is selected, attach the most recent balance sheet, statement of
                                                                        operations, cash-flow statement, and federal income tax return, or if any of these
                                                                        documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                       A plan is being filed with this petition.
                                                                       Acceptances of the plan were solicited prepetition from one or more classes of
                                                                        creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                       The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                        Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                       The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                        Rule 12b-2.
                                                 Chapter 12




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Debtor        Eve Financial, Inc.                                                                 Case number (if known)
              Name



9.    Were prior bankruptcy cases filed              No
      by or against the debtor within the
      last 8 years?                                  Yes. District                                   When                      Case number
                                                                                                              MM/DD/YYYY
      If more than 2 cases, attach a
      separate list.                                         District                                 When                      Case number
                                                                                                              MM/DD/YYYY



10.   Are any bankruptcy cases pending               No
      or being filed by a business partner
      or an affiliate of the debtor?
                                                     Yes. Debtor                                                    Relationship

      List all cases. If more than 1, attach a               District                                                When
                                                                                                                                       MM/DD/YYYY
      separate list.

                                                             Case number, if known


11.   Why is the case filed in this              Check all that apply:
      district?
                                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                      days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                      any other district.
                                                     A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                      district.


12.   Does the debtor own or have                    No
      possession of any real property or
      personal property that needs                   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                                 Why does the property need immediate attention? (Check all that apply.)
                                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health
                                                                 or safety.
                                                                 What is the hazard?
                                                                It needs to be physically secured or protected from the weather.
                                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                 attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                                 related assets or other options).
                                                                Other



                                                            Where is the property?
                                                                                           Number                     Street




                                                                                           City                                State       ZIP Code


                                                           Is the property insured?
                                                                No
                                                                Yes. Insurance agency

                                                                         Contact name

                                                                         Phone




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Debtor        Eve Financial, Inc.                                                               Case number (if known)
              Name



            Statistical and administrative information

13.   Debtor’s estimation of available         Check one:
      funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                     creditors.


14.   Estimated number of creditors                 1-49                                  1,000-5,000                         25,001-50,000
                                                    50-99                                 5,001-10,000                        50,001-100,000
                                                    100-199                               10,001-25,000                       More than 100,000
                                                    200-999


15.   Estimated assets                              $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion


16.   Estimated liabilities                         $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion




            Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
      authorized representative of debtor            in this petition.
                                                     I have been authorized to file this petition on behalf of the debtor.
                                                     I have examined the information in this petition and have a reasonable belief that the information is
                                                     true and correct.


                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on      11/01/2023
                                                                      MM / DD / YYYY


                                                 /s/ Isaac Freckleton
                                                  Signature of authorized representative of debtor
                                                                                                           Isaac Freckleton
                                                                                                           Printed name


                                                     Title    Chief Executive Officer




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             Name


                                                                                                         11/01/2023
18.   Signature of attorney
                                             /s/ Charlie Shelton
                                              Signature of attorney for debtor
                                                                                               Date
                                                                                                         MM / DD / YYYY



                                                Charlie Shelton
                                                Printed name

                                                Hayward PLLC
                                                Firm name

                                                7600 Burnet Road, Suite 530
                                                Number          Street

                                                Austin                                           TX              78757
                                                City                                             State           ZIP Code


                                                (737) 881-7100                                   cshelton@haywardfirm.com
                                                Contact Phone                                    Email address



                                                24079317                                         Texas
                                                Bar number                                       State




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                                                United States Bankruptcy Court
                                                        Northern District of Texas
In re   Eve Financial, Inc.                                              Case No.
                                                  Debtor(s)              Chapter     11




                               VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date:    11/01/2023                                                          /s/ Isaac Freckleton
                                                                             Isaac Freckleton
                                                                             Signature of Debtor




                                                                Creditor Matrix                                       page 1 of 5
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                                                  Bill Gosling Outsourcing
                                                  55 Mulcaster Street,Suite 600
                                                  Barrie, Ontario, L4M 0J4



                                                  Bloom Credit
                                                  450 Fashion Ave Ste 1506
                                                  New York, NY 10123



                                                  Carta, Inc.
                                                  333 Bush St, Suite 2300
                                                  San Francisco, CA 94104



                                                  CSC Global
                                                  251 Little Falls Drive
                                                  Wilmington, DE 19808



                                                  Delaware Trust Corporation
                                                  251 Little Falls Drive
                                                  Wilmington, DE 19808



                                                  Ellyn Tacktman Family Remainder Trust
                                                  c/o Winstead, P.C.
                                                  Attn: Andrew J. Schumacher and Laney Howard
                                                  401 Congress Ave., Suite 2100
                                                  Austin, TX 78701



                                                  Ellyn Yacktman
                                                  c/o Winstead, P.C.
                                                  Attn: Andrew J. Schumacher and Laney Howard
                                                  401 Congress Ave., Suite 2100
                                                  Austin, TX 78701



                                                  Encina Lender Finance
                                                  12540 BROADWELL RD., #1202
                                                  Milton, GA 30004




                                                                Creditor Matrix                             page 2 of 5
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                                                  Excel CFO, Inc.
                                                  29 N Park Square, Unit 201
                                                  Marietta, GA 30060



                                                  Experian
                                                  P.O. Box 4500
                                                  Allen, TX 75013



                                                  First Pryority Bank
                                                  10632 S. Memorial
                                                  Tulsa, OK 74133




                                                  Form Piper
                                                  1261 S 820 E
                                                  American Fork, UT 84003



                                                  Fullstory.com
                                                  1745 Peachtree Street NW, Suite N
                                                  Atlanta, GA 30309



                                                  iLex Consulting Group
                                                  8010 Ritter Dr
                                                  Mount Juliet, TN 37122



                                                  Internet Mastery
                                                  11693 San Vicente Blvd # 518
                                                  Los Angeles, CA 90049



                                                  Jason Subotky
                                                  c/o Winstead, P.C.
                                                  Attn: Andrew J. Schumacher and Laney Howard
                                                  401 Congress Ave., Suite 2100
                                                  Austin, TX 78701




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                                                  Jason Subotky Family Remainder Trust
                                                  c/o Winstead, P.C.
                                                  Attn: Andrew J. Schumacher and Laney Howard
                                                  401 Congress Ave., Suite 2100
                                                  Austin, TX 78701



                                                  Maven Creative
                                                  200 S Orange Ave. Suite 100
                                                  Orlando, FL 32801



                                                  Middesk, Inc.
                                                  85 2nd St., Suite 710
                                                  San Francisco, CA 94105



                                                  Outreach.io
                                                  333 Elliott Ave. W #500
                                                  Seattle, WA 98119



                                                  Perfect Plastic Printing Corporation
                                                  311 Kautz Rd
                                                  Saint Charles, IL 60174



                                                  Plaid Technologies, Inc.
                                                  1098 Harrison St
                                                  San Francisco, CA 94103



                                                  Seward & Kissell
                                                  One Battery Park Plaza
                                                  New York, NY 10004



                                                  Simplify Home Loans
                                                  1261 S 820 E #200
                                                  American Fork, UT 84003




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                                                  Stephen Yacktman
                                                  c/o Winstead, P.C.
                                                  Attn: Andrew J. Schumacher and Laney Howard
                                                  401 Congress Ave., Suite 2100
                                                  Austin, TX 78701



                                                  Stephen Yacktman Family Remainder Trust
                                                  c/o Winstead, P.C.
                                                  Attn: Andrew J. Schumacher and Laney Howard
                                                  401 Congress Ave., Suite 2100
                                                  Austin, TX 78701



                                                  Troutman Pepper Hamilton Sanders LLP
                                                  600 Peachtree Street NE, Suite 3000
                                                  Atlanta, GA 30308



                                                  Vervent, Inc.
                                                  P.O. Box 911007
                                                  San Diego, CA 92191




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